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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

GREATER EDWARDS AQUIFER                        )
ALLIANCE, et al.,                              )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )                5:20-cv-824
                                                     Case No. ___________________________.
                                               )
LENNAR HOMES OF TEXAS                          )
LAND AND CONSTRUCTION, LTD.,                   )
                                               )
                       Defendant.              )

                                    CONSENT DECREE

       This Consent Decree (“Consent Decree”) is hereby entered into by and between the Greater

Edwards Aquifer Alliance (“GEAA”), Bulverde Neighborhood Alliance (“BNA”), and Shawn and

Eddie Langford (“the Langfords”) (referred to herein collectively as “Plaintiffs”) and Lennar

Homes of Texas Land and Construction, Ltd. (“Lennar” or “Defendant”). Collectively, Plaintiffs

and Lennar are sometimes referred to collectively in this Consent Decree as the Parties or

individually as a Party.

                                         RECITALS

       WHEREAS, Lennar is involved in the development of “4S Ranch,” which is comprised of

approximately 775 acres of land, located immediately northwest of the City of Bulverde, Texas,

proposed to be used for a combination of commercial and residential purposes (the

“Development”);

       WHEREAS, Lennar holds Registration No. TXR15216K for construction at the

Development, under Texas Construction Activities General Permit TXR150000 (“Permit”);




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       WHEREAS, on October 30, 2019, pursuant to the Federal Water Pollution Control Act, 33

U.S.C. § 1251 et seq. (“Clean Water Act” or “CWA”), Plaintiffs provided notice of intent to file

suit against Lennar for alleged violations of the Permit and the CWA related to the Development

(“Notice Letter”) to Lennar and the Administrator of the United States Environmental Protection

Agency (“EPA”), the Regional Administrator of EPA Region VI; the Attorney General of the

United States; and the Chairman, Commissioners, and Executive Director of the Texas

Commission on Environmental Quality (“TCEQ”) (collectively “state and federal agencies”);

       WHEREAS, as of the date of the filing of this Consent Decree, plaintiffs filed a complaint,

based on the allegations set forth in the Notice Letter;

       WHEREAS, the Notice Letter and the complaint alleges that Lennar had violated

provisions of the National Pollutant Discharge Elimination System (“NPDES”) General Permit for

Storm Water Discharges (the “Industrial General Permit”), specifically: from March 19, 2018 to

present, Lennar failed to develop a storm water pollution prevention plan (“SWPPP”) under the

Industrial General Permit prior to the commencement of construction that minimizes to the extent

practicable the discharge of pollutants in stormwater associated with construction activity and non-

stormwater discharges, (Condition III of the Permit); from March 19, 2018 to present, Lennar

commenced construction activities in the Development resulting in soil disturbance prior to

implementation of SWPPP (Condition III(C) of the Permit); on May 8, October 24, and October

25, 2019, Lennar failed to adequately contain rainfall on the Development resulting from a 2-year,

24- hour storm event, (Condition III(F)(2)(c)(i)(A)(1) of the Permit); on May 8, October 24, and

October 25, 2019, Lennar failed to implement measures to sufficiently prevent the offsite transport

of litter, construction debris, and construction materials at the Development (Condition




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III(F)(2)(a)(iii) of the Permit); from October 23, 2019 to present, Lennar failed to maintain control

measures at the Development in effective working condition (Condition III(F)(6)(a) of the Permit);

on May 8, October 24, and October 25, 2019, Lennar discharged pollutants from the Development,

including suspended solids, thereby failing to minimize the discharge of pollutants (Condition

III(G)(1) of the Permit); and from March 19, 2018 to present, Lennar failed to stabilize soils in

areas where soil disturbance has ceased for more than fourteen days at the Development (Condition

III(G)(2) of the Permit);

       WHEREAS, Lennar denies any and all of the violations alleged in the Notice Letter and

the Complaint;

       WHEREAS, upon receipt of the Notice Letter, Lennar implemented the following

corrective measures at the Facility including: updated the SWPPP; installed additional best

management practices (“BMPs”) such as additional silt fencing and check dams to control the

volume and velocity within the Development; installed additional detention basin capacity;

provided additional training to the BMP inspectors and contractors; and stabilized soils in all areas

where soil disturbance had ceased for more than fourteen days at the Development (hereinafter,

“Corrective Actions”);

       WHEREAS, because of the Corrective Actions taken by Lennar after October 30, 2019,

and prior to the filing of the Complaint, Lennar is in substantial compliance with the Permit and

the CWA; and

       WHEREAS, to promote judicial economy and avoid the uncertainty and expense of

litigation, the Parties desire to settle and compromise their dispute concerning Plaintiffs’ claims

upon the terms and conditions set forth below;




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        NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of

which is hereby acknowledged, Plaintiffs and Lennar hereby agree as follows:

                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1)-(2). For

purposes of this Consent Decree or any action to enforce this Consent Decree, Defendant consents

to the Court’s continuing subject matter and personal jurisdiction over this Consent Decree and

consents to venue in this judicial district.

                               COMPLIANCE REQUIREMENTS

        2.      Lennar agrees to operate the Development in compliance with the applicable

requirements of the Permit and the Clean Wat Act.

                           ATTORNEY’S FEES AND MITIGATION

        3.      Penalties and Fees. Lennar shall pay the cash sum of $25,000 in attorneys’ fees

and costs to Frederick, Perales, Allmon & Rockwell, P.C.

        4.      Supplemental Environmental Project (“SEP”). Lennar agrees to undertake a SEP

to resolve this matter. Under the terms of the SEP, and in lieu of any other penalties against Lennar

that may have been assessed had this action proceeded to trial, Lennar shall pay the sum of $25,000

to Greater Edwards Aquifer Alliance for use in projects related to improving water quality of the

Edwards Aquifer.

                                               RELEASE

        5.      Plaintiffs and their agents, relatives, heirs, successors, and personal representatives

(collectively referred to in this Consent Decree as “Releasors”) hereby now and forever release




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and discharge Lennar and Lennar’s employees, principals, officers, directors, shareholders,

partners, agents, consultants, contractors, successors, attorneys, insurers, brokers, and insurers of

Lennar’s consultants and contractors (collectively referred to in this Consent Decree as

“Releasees”) from any and all claims, demands, losses, expenses, damages, liabilities, actions, and

causes of action of any nature that in any manner arise from or relate to the allegations in the

Plaintiffs’ complaint.

                                NO ADMISSION OF LIABILITY

       6.      This Consent Decree is entered into for the purposes of compromising disputed

claims and avoiding the expense, inconvenience, and uncertainty of litigation. Nothing contained

in this Consent Decree, nor any consideration given pursuant to it, shall constitute or be deemed

an admission of any breach, liability, or damages of any Party.

       7.      The Parties acknowledge that the payments in ¶¶ 3 and 4 were agreed upon as a

compromise and final settlement of disputed federal claims and that payment is not, and may not

be construed as, an admission of liability and is not to be construed as an admission that Lennar

engaged in any wrongful, tortious or unlawful activity. Lennar specifically disclaims and denies

any liability to Plaintiffs or of violations of the Permit or the Clean Water Act.

                             REVIEW BY FEDERAL AGENCIES

       8.      Review by Federal Agencies. Pursuant to 33 U.S.C. § 1365(c)(3), Plaintiffs shall

submit this Consent Decree to the United States Environmental Protection Agency (“EPA”) and

the United States Department of Justice (“DOJ”), and together EPA and DOJ shall be referred to

hereinafter as the “Agencies,” via certified mail, return receipt requested, within five (5) days after

the Effective Date of this Consent Decree for review consistent with 40 C.F.R. § 135.5. The




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Agencies’ review period expires forty-five (45) days after receipt of the Consent Decree by the

Agencies, as evidenced by the return receipts, copies of which shall be provided to Lennar upon

receipt by Plaintiffs. In the event that the Agencies comment negatively on the provisions of this

Consent Decree, the Parties agree to meet and confer to attempt to resolve the issue(s) raised by

the Agencies. If the Parties are unable to resolve any issue(s) raised by the Agencies in their

comments, the Parties agree to expeditiously seek a settlement conference with the Magistrate

Judge assigned to the Complaint in this matter to resolve the issue(s).

                              GENERAL TERMS AND CONDITIONS

          9.        Effective Dates. This Consent Decree shall become effective on its approval by

this Court.

          10.       Term of Consent Decree. The term of this Consent Decree shall be for a term of

thirty (30) days to ensure Lennar’s compliance with its payment obligations under ¶¶ 3 and 4

herein.

          11.       Correspondence. All notices required herein or any other correspondence

pertaining to this Consent Decree shall be sent by regular, certified, or overnight mail as follows:

If to Plaintiffs:

Eric Allmon
FREDERICK, PERALES,
ALLMON & ROCKWELL, P.C.
1206 San Antonio Street
Austin, Texas 78701
(512) 469-6000
(512) 482-9346 Fax
eallmon@lf-lawfirm.com


If to Lennar:




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Adam G. Sowatzka
King & Spalding LLP
1180 Peachtree Street, NE
Atlanta, GA 30309
404-572-3509
asowatzka@kslaw.com

       12.      Except as provided in Paragraph 3, above, the Parties shall each bear their own

attorney’s fees and other expenses incurred as a result of the dispute to which this Consent Decree

relates, including expenses for the negotiation and preparation of this Consent Decree. If any legal

action is commenced to interpret, enforce, or recover damages for the breach of any term of this

Consent Decree, the prevailing Party shall be entitled to recover reasonable attorney's fees incurred

in connection with that action, in addition to costs of suit.

       13.      This Consent Decree contains the entire understanding between the Parties

concerning the settlement of the claims identified in Plaintiffs’ complaint. Any and all prior

negotiations that are not contained in this Consent Decree as to the claims identified in Plaintiff’s

complaint are superseded and are of no force or effect. Each Party represents and warrants that no

promise or inducement to enter into this settlement has been made to him or his that is not set forth

in this Consent Decree.

       14.      Each Party covenants and agrees to execute such further documents and perform

such further acts as may be reasonable and necessary to effectuate the purposes of this Consent

Decree.

       15.      This Consent Decree shall be interpreted in accordance with the laws of the State

of Texas. Where the context requires, the masculine, feminine, and neuter genders shall be

construed to include each other, as shall the singular and the plural and the past, present, and future




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tenses. If any provision of this Consent Decree is determined to be invalid or unenforceable, the

remainder shall be construed and enforced so as to best effectuate the intention of the Parties at

the time this Consent Decree was entered into.

       16.      Any disputes arising under this Consent Decree between the Parties shall be subject

to a notice and meet and confer process. Each Party shall cause such notice to be disseminated to

the other Party no later than ten (10) days following the start of any such dispute under the Consent

Decree. The Parties shall thereafter meet and confer regarding the dispute no later than ten (10)

days after the notice is received by the noticed Party.

       17.      This Consent Decree may not be orally superseded, modified, or amended. No

waiver, modification, or amendment shall be valid unless in a writing signed by all Parties.

       NOW, THEREFORE, the Parties hereby agree to enter into this Consent Decree:




                 [SIGNATURES TO APPEAR ON THE FOLLOWING PAGES]




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            For Defendant, Lennar Homes of Texas Land and Construction, Ltd.:



            Name
              Division President
            Title
             7/10/20
            Date

            __________________________________________
            Approved as to form and content:
            Adam G. Sowatzka
            Attorney for Lennar Homes of Texas Land and Construction, Ltd.


            Date




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For Defendant, Lennar Homes of Texas Land and Construction, Ltd.:



Name


Title


Date

__________________________________________
Approved as to form and content:
Adam G. Sowatzka
Attorney for Lennar Homes of Texas Land and Construction, Ltd.
 July 13, 2020
Date




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